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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    OCALA DIVISION


 MARK McKEON,

                Plaintiff,                              CASE NO. 5:18-cv-00250-JSM-PRL
 vs.

 OCWEN LOAN SERVICING, LLC,

                Defendant
                                                    /

              JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

       Plaintiff, MARK McKEON, and Defendant, OCWEN LOAN SERVICING, LLC, by and

through undersigned counsel and pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(ii),

hereby stipulate to the dismissal of the above matter with prejudice. Both parties will bear their

own fees and costs.

       Dated this 21st day of January, 2020.


/s/Aliza Malouf                                     /s/ David P. Mitchell
Aliza Malouf, Esq.                                  David P. Mitchell, Esq.
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Counsel for Defendant                               Counsel for Plaintiff
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 21, 2020, I electronically filed the foregoing with the Clerk

of the Court by using the CM/ECF system which will send a notice of electronic filing to all parties

of record.



                                                 /s/ David P. Mitchell
                                                 David P. Mitchell, Esquire
                                                 Florida Bar No.: 067249
